  18-10511-tmd Doc#56 Filed 08/08/18 Entered 08/08/18 14:41:39 Ntc/Hrg BK intp/20lrg Pg
                                        1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                               Bankruptcy Case
                                                                               18−10511−tmd
                                                                          No.:
                                                                  Chapter No.: 11
                                                                        Judge: Tony M. Davis
IN RE: Ronco Holdings, Inc. , Debtor(s)




                                       NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   9/10/18 at 01:30 PM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 35 Unopposed Motion To (I) Allow
     And Compel Payment Of Post−Petition Administrative Rent And (II) Compel Assumption Or Rejection Of
     Lease (21 Day Objection Language) filed by Cassandra A. Shoemaker for Creditor Kaonolulu Ranch, LLLP .)
     Hearing Scheduled For 9/10/2018 at 01:30 PM at Austin Courtroom 1 .....IF TIME ESTIMATE FOR BOTH
     SIDES EXCEEDS 30 MINUTES, PLEASE E−MAIL THE COURTROOM DEPUTY AT
     JENNIFER_LOPEZ@TXWB.USCOURTS.GOV AND ALL AFFECTED PARTIES FOR A SPECIAL
     SETTING. (Lopez, Jennifer)


Dated: 8/8/18
                                                         Yvette M. Taylor
                                                         Clerk, U. S. Bankruptcy Court




                                                                                         [Hearing Notice (BK)] [NtchrgBKap20]
